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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


      UNITED STATES OF AMERICA,

                Plaintiff,                           Case No. 21-cr-20606

                    v.                             U.S. District Court Judge
                                                      Gershwin A. Drain
          DONALD CUMMINGS,

               Defendants.
                                      /

     OPINION AND ORDER DENYING DEFENDANT’S MOTION TO
              SUPPRESS STATEMENTS (ECF NO. 26)

                                 I.   INTRODUCTION

      Defendant Donald Lee Cummings is charged in a one-count indictment as an

unlawful user of a controlled substance in possession of a firearm, in violation of 18

U.S.C. § 922(g)(3). ECF No. 12. Presently before the Court is Defendant’s Motion

to Suppress Statements (ECF No. 26). The Motion is fully briefed, and the Court

held a hearing on the Motion on May 10, 2022. For the following reasons, the Court

will DENY Defendant’s Motion to Suppress Statements (ECF No. 26).




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                           II.   FACTUAL BACKGROUND

      A. Mr. Cumming’s Learning Disability

      Mr. Cumming’s has a documented learning disability. Def. Mot. to Suppress,

ECF No. 26, PageID.113. He repeated both the first and fourth grades. Id. In 2015,

after being held back the second time, Mr. Cummings was referred to a psychologist

for evaluation and diagnosed with a learning disability. Id. Based on that diagnosis,

Mr. Cummings was referred for special education assessment, where he presented

as “delayed across all of the primary curriculum domains, particularly primary

reading, [and] reading comprehension.” Id. (internal quotation marks omitted)

(alteration in original). Id. at PageID.113-14. He also scored “in the low range of

standard scores for his overall intellectual ability.” Id. at PageID.114. As a result,

Mr. Cummings was enrolled in specialized education and an individualized

education plan. Id.

      By 2017, Mr. Cummings’ word recognition had reached a second-grade level,

and his reading comprehension had reached a third-grade level. Id. Given that he

was in eighth grade at the time, his overall performance was more than five grade

levels below his grade level. Id. Mr. Cummings left school shortly after the 2017

assessments, and the 2016-2017 academic year was his last year of schooling. Id.




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      B. The Investigation and Arrest

      The United States Bureau of Alcohol, Tobacco, Firearms and Explosives

(“ATF”) began investigating Mr. Cummings after identifying him as a suspect in

three shootings. ECF No. 39, PageID.184. As part of the investigation, agents began

surveilling Mr. Cummings social media accounts, where he posted several photos

and videos of himself using drugs, advertising the sale of drugs, and possessing

firearms. Id. at PageID.186. As a result, the agents obtained a search warrant for

Mr. Cummings’ house. Id. (citing ECF No. 39-2, PageID.207).

      At 7:50 AM on September 8, 2021, three months after Mr. Cumming’s 18th

birthday, twenty-one law enforcement officials—including federal agents, Detroit

police officers, a Michigan parole officer, and a Michigan state trooper with a

canine—executed search warrants for Mr. Cumming’s house and car. ECF No. 26,

PageID.107, PageID.111. When no one answered the door, the law enforcement

officials forced entry into the home with a battering ram and Halligan tool. Id. Mr.

Cummings and the other occupants of the home were handcuffed and held on the

porch while the law enforcement officials conducted their search. Id.

      Ultimately, the law enforcement officials recovered a firearm loaded with an

extended magazine, a second extended magazine, ammunition, Oxycodone, and

marijuana from Mr. Cummings bedroom and scales from his car. ECF No. 39,

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PageID.187 (citing ECF No. 39-2, PageID.210-11). The officials arrested Mr.

Cumming’s for violating 18 U.S.C. § 922(g)(3), possession of a firearm by an

unlawful user of a controlled substance. ECF No. 26, PageID.107, PageID.107.

After arresting Mr. Cummings, law enforcement officials transported him to the

ATF Detroit Field Office. Id. at PageID.111.

        C. The Interrogation

        Beginning around 9:50 AM, ATF Agents Allick and Brandon interviewed Mr.

Cummings in the ATF Detroit interrogation room. ECF No. 26, PageID.111.

        At the beginning of the interaction, Agent Brandon told Mr. Cummings they

“need to go over some paperwork before [they] have a conversation.” Gov. Ex. J at

1:00-1:02.1 In response to Agent Brandon’s question, Mr. Cummings explains that

despite being arrested, he had never had his Miranda rights read to him. Id. at 1:09-

1:14. Thus, Agent Brandon read Mr. Cummings his Miranda rights. Id. at 1:14-

1:46.    After reading each right, Agent Brandon asked Mr. Cummings if he

understood the right that had been read, and Mr. Cummings answered affirmatively




1
  Mr. Cummings attached an audio-only version of the interrogation to his Motion.
See Def. Ex. A. Because the Government submitted a version of the same
interrogation with both audio and video, the Court will refer to the Government’s
exhibit.
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each time.2 Id. Agent Brandon then showed Mr. Cummings the Waiver Provision

and determined Mr. Cummings had completed ninth grade in school and could thus

“read and write okay.”3 Id. at 1:46-1:52. Agent Brandon asked Mr. Cummings to

read the Waiver Provision aloud so he could verify Mr. Cummings’ understanding.

He also explained the Provision was “basically saying [Mr. Cumming’s was]

allowing [the agents] to have a conversation with [him] right now.” Id. at 1:52-1:59.

      Mr. Cummings’ reading was stilted, and he tripped over words such as “read,”

id. at 2:03-05, and “willing,” which he misread as “writing,” prompting Agent

Brandon to correct him, id. at 2:13-2:17. Mr. Cummings also hesitated over the

phrase “no promises or threats have been made to me,” prompting Agent Brandon

to explain that it meant “against [Mr. Cumming’s] will” and that he hadn’t promised

Mr. Cummings anything or threatened him. Id. at 2:21-2:28. Mr. Cummings agreed

with this assessment. Id. Mr. Cummings’ also hesitated over the word “force,”




2
  After Agent Brandon asked if Mr. Cummings understood his right to have an
attorney present during questioning, Mr. Cummings responded “tight, sure.” Gov.
Ex. J at 01:25-01:31. Agent Brandon asked Mr. Cummings to clarify his response,
explaining that he knew what Mr. Cummings was saying but needed him to respond
with a yes or no. Id. at 01:33-01:36.
3
  Although Mr. Cummings stated during the interrogation that he completed ninth
grade, his school records indicate his last year of school was when he was in eighth
grade. ECF No. 26, PageID.114. Ultimately, this slight discrepancy does not change
the Court’s analysis.
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eventually asking Agent Brandon what the word was. Id. at 2:30-2:37. Then, the

following exchange occurred.

      Agent Brandon:     Force.
      Mr. Cummings:      Force.
      Agent Brandon:     Do you understand what that means?—
      Mr. Cummings:      Yea, force.
      Agent Brandon:     Like if I beat you up. I haven’t made you say
                         anything. Do you understand that?
      Mr. Cummings:      Exactly, exactly, exactly.
      Agent Brandon:     We haven’t done any of that?
      Mr. Cummings:      Exactly. Nah, hell nah.
      Agent Brandon:     Alright cool. Alright so, it says, this last part here,
                         “no force of any kind has been used against me.”
                         That’s all true, right?
      Mr. Cummings:      Yea, that’s true.
      Agent Brandon:     If that’s true, you just gotta sign your name and
                         print your name right there.
      Mr. Cummings:      But, but why do I, why do I have to sign my name?
                         Like . . . if I sign my name, I gotta talk?
      Agent Brandon:     No, you can talk to me either way. Whatever you
                         decide to do, you can do.
      Mr. Cummings:      Alright. I got you.
      Agent Brandon:     We’re just having a conversation, that’s all this is.
                         Nothing crazy. I got a couple questions for you and
                         then we’ll let you ask some questions for us.

Id. at 2:36-3:12. Mr. Cummings signed the Waiver Form. Id. at 3:05-4:03.

      After asking some introductory questions, id. at 4:12-5:28, Agent Brandon

asked Mr. Cummings if he was currently on “anything that would change or alter


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[his] state of mind,” id. at 5:28-5:34.          Initially, Mr. Cummings responded

emphatically that he was not, but when asked if he takes any drugs, Mr. Cummings

responded that he takes one or two “percs” (the street name for Oxycodone) per day

after injuring his leg in a dirt bike accident, especially if it is raining or right before

he is trying to go to sleep. Id. at 5:37-6:15. Mr. Cummings also stated that he has

been smoking weed for a couple years and that he smokes between 10 and 20 blunts

per day, with about 1.7 grams of weed per blunt. Id. at 6:20-7:32. He later clarified

that he started smoking when he was 13 or 14 years old. Id. at 18:02-18:30. Agent

Brandon noted Mr. Cummings smokes “by far the most weed” of anyone to whom

he had spoken. Id. at 7:12-7:21.

      The interrogation continued for approximately 15 minutes. Id. at 4:12-18:35.

Mr. Cummings admitted to possessing two different guns (that he possessed at

different times) and explained that he owns a firearm for protection but does not use

it in connection with his cannabis business. Id. As Mr. Cummings and the ATF

Agents exited the interview room, he asked if his lawyer was going to come. Id. at

19:04-19:07. Agent Brandon explained that Mr. Cummings would get a lawyer

when he was “arraigned in court,” and Mr. Cummings affirmed that he understood.

Id. at 19:07-19:11.




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      Upon returning to the interview room to wait, Mr. Cummings pulled the collar

of his shirt over his face and took a nap. Id. at 23:45-28:43. When that proved

uncomfortable, he laid down on the floor instead. Id. at 28:51; see also Gov. Ex. L

at 00:00-36:16.


                           III.   MOTION TO SUPPRESS

      Mr. Cummings moves to suppress the statements he made to law enforcement

after his arrest pursuant to Federal Rule of Criminal Procedure 12(b)(3)(C), the Fifth

Amendment, and Miranda v. Arizona, 384 U.S. 436, 444–45 (1966). ECF No. 26,

PageID.106.       Specifically, he argues “[h]is limited reading and language

comprehension capabilities, combined with his youthful age and his overuse of

marijuana and Oxycodone, made the Miranda warnings ineffective.”               Id. at

PageID.117. Additionally, Mr. Cummings emphasizes that he “had never before

been subjected to custodial interrogation,” “ha[d] no prior convictions,” and “the

interrogation [had taken] place after more than 20 law enforcement officers

descended into [Mr. Cumming’s] house via battering ram, after he had been asleep

only a couple of hours.” Id.

      The Government argues Mr. Cummings’ waiver was voluntary, knowing, and

intelligent despite his learning disability, age and relative inexperience with the

criminal justice system, alleged intoxication. ECF No. 39, PageID.195-201. In

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particular, it asserts his waiver was voluntary because it did not involve coercive

police activity. ECF No. 39, PageID.191, 201-04. Additionally, the Government

contends his waiver was knowing and intelligent despite his trouble reading the

waiver language because the ATF agents verbally stated each Miranda right and

provided explanations to resolve his reading comprehension issues.            Id. at

PageID.193-94.     Moreover, the Government maintains other portions of the

interrogation evidence Mr. Cummings’ awareness of his waiver because he was

lucid, coherent, and alert and he was able to push back on agents regarding the dates

he acquired his firearms and the purposes for which he used them.             Id. at

PageID.194-95. Finally, the Government avers Mr. Cummings’ question about his

lawyer at the end of the interrogation intended to ask whether an attorney would be

present at his initial appearance. Id. at PageID.195.

      In reply, Mr. Cummings first reasserts that he did not understand what was

taking place because (1) he had never had his Miranda rights read to him before, but

Agent Brandon quickly read through the Miranda form in 20 seconds; (2) Agent

Brandon explained the waiver form “basically [] say[s] that [Mr. Cummings was]

allowing [the agents] to have a conversation with [him] right [then];” (3) according

to Mr. Cummings, Agent Brandon mischaracterized the purpose of the waiver form;

(4) Mr. Cummings uses Oxycodone and smokes copious amounts of marijuana

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daily, but the agent did not clarify whether he was under the influence at the time;

and (5) Mr. Cummings is low functioning, as evidenced by his school records. ECF

No. 49, PageID.464-65. Second, he contends the cases on which the Government

relies reject each of Mr. Cummings individually, but none address defendants with

all the impediments he faced.       Id. at PageID.466.      Finally, Mr. Cummings

emphasizes that he need not show coercion to prevail, as whether a waiver was

voluntary, which involves the question of coercion, is separate from whether the

waiver was intelligent and knowing. Id. Nevertheless, he argues “there is sufficient

evidence that the totality of the circumstances were inherently coercive.” Id. at

PageID.467 (citation and internal quotation marks omitted).

   A. Legal Standard

      The Fifth Amendment guarantees that no person “shall be compelled in any

criminal case to be a witness against himself.” U.S. CONST. AMEND. V. In Miranda

v. Arizona, 384 U.S. 436 (1966), the Supreme Court “established certain procedural

safeguards that require police to advise criminal suspects of their rights under the

Fifth and Fourteenth Amendments before commencing custodial interrogation.”

Duckworth v. Eagan, 492 U.S. 195, 201 (1989). A suspect must be told “that he has

a right to remain silent, that any statement he does make may be used as evidence

against him, and that he has a right to the presence of an attorney, either retained or

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appointed.” Miranda, 384 U.S. at 444. Statements elicited in contravention of this

rule generally may not be admitted into evidence during a criminal trial. Id. at 478.

Nevertheless, a suspect “may waive effectuation of these rights, provided the waiver

is made voluntarily, knowingly and intelligently.” Id. at 444.

      A court’s inquiry into the validity of a waiver “has two distinct dimensions.”

Moran v. Burbine, 475 U.S. 412, 421 (1986).


      First, the relinquishment of the right must have been voluntary in the
      sense that it was the product of a free and deliberate choice rather than
      intimidation, coercion, or deception. Second, the waiver must have
      been made with a full awareness of both the nature of the right being
      abandoned and the consequences of the decision to abandon it.


Id. “Only if the ‘totality of the circumstances surrounding the interrogation’ reveal

both an uncoerced choice and the requisite level of comprehension may a court

properly conclude that the Miranda rights have been waived.” Id. (quoting Fare v.

Michael C., 442 U.S. 707, 725 (1979)).

      The totality of the circumstances inquiry requires a court to examine “all the

circumstances surrounding the interrogation,” including the suspect’s “age,

experience, education, background, and intelligence, and [] whether he has the

capacity to understand the warnings given him, the nature of his Fifth Amendment

rights, and the consequences of waiving those rights.” Michael C., 442 U.S. at 725.

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“An express written or oral statement of waiver of the right to remain silent or of the

right to counsel is usually strong proof of the validity of that waiver[] but is not

inevitably either necessary or sufficient to establish waiver.” North Carolina v.

Butler, 441 U.S. 369, 373 (1979). The Government must prove the validity of the

waiver by a preponderance of the evidence. Colorado v. Connelly, 479 U.S. 157,

168 (1986). However, the court’s inquiry into the validity of a Miranda waiver is

done “‘primarily from the perspective of the police,’ such that where ‘[the] police

had no reason to believe that [the defendant] misunderstood the warnings, . . . there

is no basis for invalidating [the] Miranda waiver.’” United States v. Al-Cholan, 610

F.3d 945, 954 (6th Cir. 2010) (alterations in original) (quoting Garner v. Mitchell,

557 F.3d 257, 263 (6th Cir. 2009) (en banc)).

      B. Discussion

             1. Cummings waived his Miranda rights voluntarily.

       “Evidence that a defendant suffered, at the relevant time, from a condition or

deficiency that impaired his cognitive or volitional capacity is never, by itself,

sufficient to warrant the conclusion that his confession was involuntary for purposes

of due process; some element of police coercion is always necessary.” United States

v. Newman, 889 F.2d 88, 94 (6th Cir.1989) (citing Connelly, 479 U.S. at 157; McCall

v. Dutton, 863 F.2d 454 (6th Cir. 1988)). However, “[a] lesser quantum of coercion

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is required where the suspect is intoxicated and the officers are aware of his

intoxication.” United States v. Cooper, No. CR 7:16-01-DCR, 2016 WL 2944661,

at *5 (E.D. Ky. May 20, 2016) (citing Murphy v. Ohio, 551 F.3d 485, 514 (6th Cir.

2009); United States v. Hampton, 572 Fed. App’x. 430, 434 (6th Cir. 2014)). This

is because a court must consider the totality of circumstances when determining

whether a Miranda waiver was voluntary. Finley v. Rogers, 116 F. App’x 630, 637

(6th Cir. 2004). The Sixth Circuit

      has established three requirements for a finding that a confession was
      involuntary due to police coercion: (i) the police activity was
      objectively coercive; (ii) the coercion in question was sufficient to
      overbear the defendant's will; and (iii) the alleged police misconduct
      was the crucial motivating factor in the defendant’s decision to offer
      the statement.

United States v. Johnson, 351 F.3d 254, 260 (6th Cir. 2003) (citation and internal

quotation mark omitted); see also Connelly, 479 U.S. at 164 (“Absent police conduct

causally related to the confession, there is simply no basis for concluding that any

state actor has deprived a criminal defendant of due process of law.”); United States

v. Luck, 852 F.3d 615, 623 (6th Cir. 2017) (“[E]ven if defendant’s cognitive or

volitional capacity was impaired, that is never, by itself, sufficient to warrant the

conclusion that his confession was involuntary for purposes of due process; some




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element of police coercion is always necessary.”) (citation and internal quotation

marks omitted).

      As discussed above, Mr. Cummings does not specifically identify coercive

behavior by the ATF agents but instead argues the “totality of the circumstances

were ‘inherently coercive.’” ECF No. 49, PageID.467 (quoting Howes v. Fields,

565 U.S. 499, 509 (2012)). The Court disagrees because Mr. Cummings was not

subjected to “objectively coercive” police behavior. Johnson, 351 F.3d at 260.

       “[T]he fact that the police searched [Mr. Cummings’s] house before the

interrogation is irrelevant to the issue” of voluntariness. Finley, 116 F. App’x at

637. Additionally, the ATF agents “were not [] responsible for [Mr. Cummings’

learning disability or alleged intoxication] or for the way [those conditions]

manifested,” so those cannot constitute coercive police activity for the purposes of

voluntariness. Newman, 889 F.2d at 95 (citing Connelly, 479 U.S. at 167) (noting

Supreme Court upheld the confession of a man suffering from a psychosis that

interfered with his ability to make free and rational choices). Thus, the only

potentially coercive police activities on which Mr. Cummings may rely in arguing

his waiver was involuntary are Agent Brandon’s explanation of the word “force”




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and his exchange with Mr. Cummings immediately prior to Mr. Cummings signing

the Waiver Provision.4

      For Mr. Cummings waiver to be voluntary, it must have been “the product of

a free and deliberate choice rather than intimidation, coercion, or deception.”




4
  The Court also notes that “[a]lthough there is sufficient evidence to indicate that
[Mr. Cummings] may have been intoxicated, the evidence does not indicate that the
officers were aware of [Mr. Cummings’] intoxication.” United States v. Cooper,
No. CR 7:16-01-DCR, 2016 WL 2944661, at *5 (E.D. Ky. May 20, 2016). Mr.
Cummings emphatically denied that he was presently under the influence of any
mind-altering substances when Agent Brandon asked. Additionally, although he
later told the agents that he regularly smokes marijuana and takes Oxycodone, a
review of the interrogation recording reveals that Mr. Cummings did not appear
intoxicated when interacting with the agents. Thus, “[b]ecause [Mr. Cummings’]
alleged intoxication was not ‘known to interrogating officers,’ a ‘lesser quantum of
coercion” is not triggered by [Mr. Cummings’] intoxication.’” Id. (quoting Murphy
v. Ohio, 551 F.3d 485, 514 (6th Cir. 2009)); see also United States v. Hamilton, 445
F. App'x 841, 844 (6th Cir. 2011) (holding intoxicated defendant voluntarily waived
his Miranda rights because he was “alert, cooperative, and able to form questions
while at the police station”).

Additionally, although the Court recognizes Mr. Cummings was only three months
beyond his 18th birthday at the time of the interrogation, “the mere recitation of [the
defendant’s] age . . . does not support the conclusion that [his] statement was
involuntary.” Finley, 116 F. App’x at 636. Indeed, several courts have upheld the
validity of waivers for defendants with similar circumstances. See, e.g., Kopp v.
Birkett, No. 1:04-cv-234, 2007 WL 922422, at *8-15 (W.D. Mich. Mar. 26, 2007)
(affirming state court of appeals’ determination that “uneducated” 18-year-old
defendant with “limited intelligence,” and “learning disabilities,” who was suffering
from withdrawals and sleep deprivation properly waived his Miranda rights where
he appeared to understand his rights as read aloud to him, of which he had been
previously advised, and understood officer’s questions and responded to same).
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Burbine, 475 U.S. at 421. Additionally, he cannot have been “threatened, tricked,

or cajoled into a waiver.” Miranda, 384 U.S. at 476. Here, Agent Brandon asked

Mr. Cummings if he understood what the word “force” means and began to define

it as “[l]ike if [he] beat [Mr. Cummings] up,” but Mr. Cummings cut Agent Brandon

off to affirm that he understood the word and then, importantly, seemingly agreed

with Agent Brandon’s definition. Gov. Ex. J. at 02:34-02:41. According to Black’s

Law Dictionary, “force” includes “[p]ower, violence, or pressure directed against a

person or thing.” Force, Black’s Law Dictionary (11th ed. 2019). Thus, Agent

Brandon’s definition was accurate, if not complete; in other words, the explanation

was “sufficient for the purposes of conveying to [Mr. Cummings] the notion that the

police did not force [him] to cooperate.” Finley, 116 F. App’x at 638 (affirming

state court of appeals’ determination that officer’s explanation of the word

“coercion” as no one “pulling [defendant’s] hair” or “twisting [her] arm to get [her]

to talk” sufficiently conveyed “the notion that the police did not force [the defendant]

to cooperate”). Therefore, the Court finds Agent Brandon’s explanation of the word

“force” was neither coercive nor deceptive nor cajoling.5




5
 Mr. Cummings does not argue the explanation was “intimidating” or “threatening”
nor could he reasonably do so based on the Court’s review of the interrogation
recording.
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      Likewise, the Court concludes Agent Brandon’s exchange with Mr.

Cummings immediately before he signed the Waiver Provision was not coercive.

Indeed, when Mr. Cummings asked if signing the Waiver Provision meant he had to

talk, Agent Brandon said “no” and further explained that Mr. Cummings could do

“whatever [he] decide[d] to do,” including talk to Agent Brandon even without

signing the Waiver Provision. Gov. Ex. J. at 02:55-03:03. Again, while this

explanation could have been better, it was technically correct. Even if he had refused

to sign the Waiver Provision, Mr. Cummings could have implicitly waived his

Miranda rights by proceeding to talk to the ATF agents. See United States v. Adams,

583 F.3d 457, 467 (6th Cir. 2009) (“a Miranda waiver may be clearly inferred . . .

when a defendant, after being properly informed of his rights and indicating that he

understands them, nevertheless does nothing to invoke those rights and speaks.”)

(omission in original) (quoting United States v. Nichols, 512 F.3d 789, 798-99 (6th

Cir. 2008)).   Agent Brandon’s statements were neither deceptive nor unduly

pressuring—indeed, he explicitly told Mr. Cummings he could do whatever he

wanted to do—thus, the Court finds they were not “objectively coercive.”

      The Court also notes that both ATF agents maintained an amicable rapport

with Mr. Cummings before, during, and after the interrogation. See generally Gov.

Ex. J. They never raised their voices, they provided him with water and snacks, and

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they even joked with him at times. Id. Nothing in Mr. Cummings’ demeanor

suggested discomfort with the situation. Id. Nor did he hesitate to answer any of

the agents’ questions or otherwise indicate that he wanted to stop the interrogation.

Id. Indeed, after indicating he recognized, and understood the meaning of, the word

“force” once it had been read aloud to him, Mr. Cummings emphatically denied that

Agents Allick and Brandon had “made [him] say anything.” Id. at 02:33-02:45.

Thus, the Court concludes Mr. Cummings was not subjected to “objectively

coercive” police activity that would render his Miranda waiver involuntary.

Johnson, 351 F.3d at 260.

      “Because the first prong of the test for involuntary statements—

objectively coercive conduct—is not present, the Court finds that analysis of the

second and third prongs of the [coercion] test—whether the behavior was sufficient

to and did in fact overbear the Defendant’s will—is unnecessary.” United States v.

Wood, No. 3:08-CR-26, 2009 WL 212929, at *6 (E.D. Tenn. Jan. 29, 2009) (citing

McCall, 863 F.2d at 459).

             2. Cummings waived his Miranda rights knowingly and
                intelligently.

      As discussed supra, for a waiver to be knowing and intelligent, “the waiver

must have been made with a full awareness of both the nature of the right being

abandoned and the consequences of the decision to abandon it.” Burbine, 475 U.S.
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at 421. The issue for the Court is not whether the “criminal suspect kn[e]w and

underst[oo]d every possible consequence of a waiver of the Fifth Amendment

privilege,” but whether the “suspect [knew] that he [could] choose not to talk to law

enforcement officers, to talk only with counsel present, or to discontinue talking at

any time.” Colorado v. Spring, 479 U.S. 564, 574 (1987).

      Mr. Cummings contends his limited reading and reading comprehension

capabilities, youthful age, regular drug use, relative sleep deprivation, and

inexperience with the custodial interrogations all served to undermine the status of

his waiver as knowing and intelligent, particularly in light of Agent Brandon’s less-

than-perfect explanations.   The Court recognizes that someone with a similar

background to Mr. Cummings could very well have not understood their Miranda

warnings under these circumstances; however, under the totality of the

circumstances and given the evidence before it, the Court finds that Mr. Cummings

waiver of his Miranda rights was knowing and intelligent.

      As a threshold matter, Agent Brandon read each Miranda warning to Mr.

Cummings exactly as it appeared on the Miranda Form. Moreover, after reading

each warning, Agent Brandon asked Mr. Cummings if he understood the right that

had just been read to him, and Mr. Cummings affirmed that he did each time.




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      The Court notes that Mr. Cummings struggled at time with reading the Waiver

Provision; however, that does not necessarily mean that he was unable to understand

what he had read once certain words had been identified for him. After they finished

going over the Waiver Provision, the last sentence of which affirmed “no force of

any kind” had been used against the signatory, Agent Brandon asked Mr. Cummings

if “that[] [was] all true” and directed Mr. Cummings to sign the Provision if it was.

Gov. Ex. J. at 02:44-02:54. Mr. Cummings now argues Agent Brandon’s question,

which followed shortly after his explanation of the word “force,” indicated the

document Mr. Cummings was being asked to sign was a certification that he had not

been beaten by the officers. ECF No. 26, PageID.118. The Court disagrees with

this interpretation of the interaction. At the time, Mr. Cummings was clearly aware

that signing the document was linked to waiving his right to remain silent. This is

evidenced by the fact that he immediately asked Agent Brandon if signing his name

meant he had to talk. Gov. Ex. J. at 02:55-03:00. It took only about a minute for

Mr. Cummings go through the Waiver Provision, even with his reading difficulties

and Agent Brandon’s explanations. Given the short time frame, it is not surprising

Mr. Cummings interpreted Agent Brandon as Agent Brandon intended, Mr.

Cummings was to sign the document if he agreed everything in the Waiver Provision

he had just read was true.

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      Additionally, Mr. Cummings asserts Agent Brandon’s response to his

question about whether he had to speak if he signed the Waiver Provision presumed

his compliance with the interrogation, regardless of whether Mr. Cummings signed

the form. As discussed supra, Agent Brandon’s explanation, although less than

perfect, was technically correct in that Mr. Cummings could refuse to sign the

Waiver Provision and then still implicitly waive his Miranda rights by talking to

Agent Brandon anyway.

      Several courts in this Circuit have upheld Miranda waivers where the officer’s

explanation of the waiver form or provision was less than perfect. See, e.g., Finley,

116 F. App’x at 637-38 (affirming state court of appeals’ determination that officer’s

explanation of the word “coercion” as no one “pulling [defendant’s] hair” or

“twisting [her] arm to get [her] to talk” sufficiently conveyed “the notion that the

police did not force [the defendant] to cooperate” and that defendant waived her

rights knowingly and intelligently); Greeno v. Bradshaw, No. 3:05CV1013, 2007

WL 789578, at *11 (N.D. Ohio March 14, 2007) (affirming state court of appeals’

determination that officer’s “lengthy and unorganized” explanation of “waiver”

because, inter alia, it conveyed defendant’s “right to stop” the interrogation and have

a lawyer present); United States v. Angeles, No. 3:07-CR-92, 2008 WL 656065, at

*2 (E.D. Tenn. Mar. 6, 2008) (finding officer’s definition of “coercion” as “to feel

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forced to speak” to him and his colleague was sufficient to ensure defendant

understood Miranda waiver, especially because “[t]he sentence ha[d] the same

meaning and c[ould] be properly understood with or without the word coercion”).

Here too, Agent Brandon’s explanations were sufficient to convey (1) the meaning

of the word “force,” (2) that signing the Waiver Provision related to everything Mr.

Cummings had read in the Waiver Provision, not just the sentence regarding “force,”

and (3) that Mr. Cummings had control over whether he spoke to Agents Allick and

Brandon.

      Moreover, the case on which Mr. Cummings relies in arguing that

commentary regarding, and deviations from, the traditional Miranda warnings and

waiver invalidate waiver is distinguishable in several respects. In Doody v. Ryan,

649 F.3d 986 (9th Cir. 2011) (en banc), the officer going over the Miranda warnings

with the juvenile defendant deviated significantly from the text of the form

containing the juvenile warnings. Id. at 1002-03. Specifically, while administering

the warnings, the officer repeatedly minimized their significance while frequently

assuring the defendant he was not under suspicion and incorrectly stated the

defendant only had a right to counsel if he was involved in a crime. Id. The officer’s

“explanation of a one-page Miranda warning form consumed twelve transcribed

pages of text” evidencing “the confusion generated by the detective’s obfuscation.”

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Id. at 1003. It was for those reasons that the Ninth Circuit found the warnings given

to that defendant “constitutionally deficient.” Id.

      Here, in contrast, Agent Brandon read the Miranda warnings exactly as they

were written on the Form. While he went through the Form a bit quickly, Agent

Brandon asked Mr. Cummings if he understood each right after reading it and

insisted that Mr. Cummings verbally respond in the affirmative before he moved on

the next right. Indeed, when Mr. Cummings responded “tight, sure” to Agent

Brandon’s question of whether he understood his right to have an attorney present

during questioning, Agent Brandon asked Mr. Cummings to clarify his response.

Given these facts, the Court cannot find Mr. Cummings’ advisement of rights was

constitutionally deficient.

      Mr. Cummings learning disability, age, lack of prior experience with a

custodial interrogation, and drug use do not, in this instance, change the Court’s

analysis. As the Sixth Circuit has found, having mental deficiencies or being of “low

average intellect . . . is not dispositive.” Clark v. Mitchell, 425 F.3d 270, 283 (6th

Cir. 2005) (noting “several instances” where other circuits had determined

“defendants, despite their mental retardation or low I.Q.’s, were found to have

waived their rights knowingly and intelligently”). Indeed, the Sixth Circuit has

already found that reading at a third-grade level, as Mr. Cummings does, is not

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sufficient to undermine an otherwise knowing an intelligent waiver. Jackson v.

McKee, 525 F.3d 430, 436 (6th Cir. 2008). Notably, Mr. Cummings did not read his

Miranda rights himself; they were read to him by Agent Brandon. Also, after

reading the Waiver Provision aloud, Mr. Cummings orally agreed to the waiver

before signing it. “[T]here is nothing cognitively complex about the advice that one

has a right to remain silent and not to talk to the police,” Finley, 116 Fed. App’x. at

638, and nothing in the record belies that Mr. Cummings understood that signing the

Form was linked to giving up his right to remain silent. That Mr. Cummings was

only three months past his eighteenth birthday and had not previously been read his

Miranda rights does not undermine this conclusion based on the record before the

Court.

         Additionally, a defendant can knowingly and intelligently waive his Miranda

rights even while intoxicated if he is “alert, coherent, and lucid.” United States v.

Dunn, 269 F. App’x 567, 573 (6th Cir. 2008) (affirming district court’s finding that

defendant knowingly and intelligently waived his Miranda rights despite being

under the influence of Vicodin and marijuana); United States v. Jones, 935 F.2d 271

(6th Cir. 1991) (per curiam) (finding “[t]he question of [the defendant]’s

incapacitating intoxication, or lack thereof, was simply a credibility issue”). Here,

Mr. Cummings emphatically denied that he was presently under the influence of any

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mind-altering substances when Agent Brandon asked him at the start of the

interrogation. Assuming arguendo that he was still under the influence of previously

ingested marijuana or Oxycodone, a review of the interrogation recording reveals

that Mr. Cummings did not appear intoxicated when interacting with the agents. He

was coherent and lucid. See United States v. Hayek, No. 2:18-CR-160, 2021 WL

2856527, at *3 (E.D. Tenn. July 8, 2021) (“On the tape, defendant is heard as

engaged and articulate during the exchange as well as throughout the interview.

Therefore, even if defendant was intoxicated at the time, as he contends, there is no

evidence that he could not understand his rights or that he was waiving them.”).

Indeed, Mr. Cummings had sufficient presence of mind to push back on a number

of the agents’ statements regarding several topics, including the amount of marijuana

he smokes per day, the scope of his marijuana sales, for how long he owned his

firearms, and for what purpose he used those firearms.6 See Garner, 557 F.3d at 261

(noting that defendant evidenced “the capacity to understand and appreciate the

consequences of speaking to the police about his criminal conduct” during his




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  This also undermines Mr. Cummings’ argument that his sleep deprivation impacted
his ability to make a knowing and intelligent waiver. See United States v. Edwards,
No. 4:10-CR-00018, 2011 WL 582625, at *5 (W.D. Ky. Feb. 9, 2011) (“Although
[the defendant] was on medication and sleep deprived, there is no indication that this
affected his ability to knowingly and intelligently waive his Miranda rights.”).
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interrogation); Dunn, 269 F. App’x at 573 (noting that defendant “had a lot of

valuable input on things”).

      As stated supra, the Court recognizes that another defendant with a similar

background and in similar circumstances might not have understood his Miranda

warnings or the nature of the right he was waiving; however, that is not Mr.

Cummings’ situation on the record before the Court. Accordingly, the Court

concludes the Government has shown by a preponderance of the evidence that Mr.

Cummings’ waiver was knowing and intelligent.

      Because the Government has shown Mr. Cummings’ waiver was voluntary,

knowing, and intelligent, Mr. Cummings’ Motion to Suppress (ECF No. 26) is

denied.


                              IV.   CONCLUSION

      Accordingly, for the reasons articulated above, IT IS HEREBY ORDERED

      that Mr. Cummings’ Motion to Suppress Statements (ECF No. 26) is

DENIED.

      IT IS SO ORDERED.

                                     /s/ Gershwin Drain
                                     GERSHWIN A. DRAIN
                                     UNITED STATES DISTRICT JUDGE

Dated: July 8, 2022

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                         CERTIFICATE OF SERVICE

           Copies of this Order were served upon attorneys of record on
                 July 8, 2022, by electronic and/or ordinary mail.
                               /s/ Teresa McGovern
                                   Case Manager




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